Case 2:18-cv-05934-MWF-KS Document 4 Filed 07/06/18 Page 1 of 2 Page ID #:12



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 7   Attorneys for Plaintiff Ox Labs Inc.
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
12    OX LABS INC., a California                   Case No.
      Corporation,
13                                                 CERTIFICATION AND NOTICE
                  Plaintiff,                       OF INTERESTED PARTIES
14
                         vs.                       [L.R. 7.1-1]
15
      BITPAY, INC., a Delaware
16    Corporation, and Does 1-10,
17                Defendants.
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     CERTIFICATION AND NOTICE OF INTERESTED PARTIES
     Case No.
Case 2:18-cv-05934-MWF-KS Document 4 Filed 07/06/18 Page 2 of 2 Page ID #:13



 1
     TO THE COURT AND ALL PARTIES OF RECORD:
 2
           The undersigned, counsel of record for Plaintiff Ox Labs Inc. certifies that
 3
     the following listed party (or parties) may have a pecuniary interest in the outcome
 4
     of this case. These representations are made to enable the Court to evaluate possible
 5
     disqualification or recusal.
 6
           Party                                          Interest/Connection
 7
           Ox Labs Inc.                                   Plaintiff
 8
           Bitpay, Inc.                                   Defendant
 9
10
     Dated: July 6, 2018                            Respectfully Submitted,
11
                                                    LEIDER + AYALA-BASS LLP
12
                                            By:         /s/ Philip. A. Leider
13                                                    Philip A. Leider
14                                                  Attorneys for Ox Labs Inc.
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     CERTIFICATION AND NOTICE OF INTERESTED PARTIES
     Case No.
